                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         WESTERN DISTRICT OF MISSOURI
                              SOUTHERN DIVISION

UNITED STATES OF AMERICA,

                       Plaintiff,
           v.                                        Case No: 16-3077-05-CR-S-BCW

KIMBERLY ROBINSON,

                       Defendant.

                    GOVERNMENT’S SENTENCING MEMORANDUM

         The United States of America, by and through Timothy A. Garrison, United States

Attorney for the Western District of Missouri, and Josephine Larison Stockard, Special Assistant

United States Attorney, respectfully submits this sentencing memorandum in the above-captioned

matter, set for a sentencing hearing on August 6, 2018. For the reasons set forth below, the

Government recommends that this Court sentence the defendant to a term of incarceration of 96

months and a five-year term of supervised release.

                                      I. BACKGROUND

         On December 20, 2017, the defendant, Kimberly Robinson, pleaded guilty before United

States Magistrate Judge David P. Rush to Count One of the Indictment, conspiracy to distribute

100 grams or more of a mixture or substance containing a detectable amount of heroin, in violation

of 21 U.S.C. §§ 841(a)(1) and (b)(1)(B) and 846. On January 4, 2018, this Court accepted the plea

of guilty. On March 29, 2018, the final Presentence Investigation Report (PSR, Doc. 199) was

filed.




          Case 6:16-cr-03077-BCW Document 218 Filed 07/27/18 Page 1 of 6
                                    II. LEGAL STANDARD

       Although the Sentencing Guidelines are no longer mandatory, United States v. Booker, 543

U.S. 220 (2005), sentencing still begins with a properly calculated, advisory Sentencing Guidelines

range. See Gall v. United States, 128 S. Ct. 586, 596 (2007); Rita v. United States, 127 S. Ct.

2456, 2464-65 (2007); Booker, 543 U.S. at 245-46; United States v. Plaza, 471 F.3d 928, 930 (8th

Cir. 2006). Next, the Court must decide if a traditional departure under the Guidelines is

appropriate, thus creating an advisory Guidelines sentencing range. Plaza, 471 F.3d at 930. After

calculating the advisory Guidelines range, the Court considers that range, along with all the factors

listed in 18 U.S.C. § 3553(a), in arriving at the final sentence. Kimbrough v. United States, 128 S.

Ct. 558, 564 (2007); Plaza, 471 F.3d at 930.

                                        III. DISCUSSION

A.     Guidelines Calculations

       The PSR finds a Guidelines imprisonment range of 77 to 96 months and a Guidelines

supervised release term of four to five years. (PSR 14, ¶¶ 70 and 73.) The Government concurs

with these calculations.

B.     Statutory Sentencing Factors

       This Court must “impose a sentence sufficient, but not greater than necessary” to address

the factors enumerated in 18 U.S.C. § 3553, including the Guidelines issued by the U.S. Sentencing

Commission. These factors include:

       1. Nature and Circumstances of the Offense

       Approximately 186 Americans die each day from a drug overdose, a total of 67,944

Americans died of drug overdoses in the period between September 2016 through September




                                                 2

         Case 6:16-cr-03077-BCW Document 218 Filed 07/27/18 Page 2 of 6
2017. 1 The statistics from the Centers for Disease Control and Prevention (CDC) paint a grim

picture in relation to heroin and opioid overdoses. The statistics show that between September

2016 and September 2017, the number of heroin deaths per annum had climbed to 15,301, and the

total number of opioid deaths (including heroin, natural, synthetic, and semi-synthetic opioids) had

jumped to 45,657.

       Sadly, today’s opioid epidemic has hit home in the State of Missouri. The most recent

statistics show that, in 2016, there were 908 Missourians who lost their lives due to an opioid

overdose. 2 One dose of heroin, which sells on the street for approximately $5 to $15, contains on

average about .025 grams of heroin. That individual dose can be fatal, depending on its purity.

To trigger a five-year mandatory minimum sentence, at least 100 grams of heroin must be involved

in the offense, or in other words, approximately 4,000 doses of potentially fatal heroin. See 21

U.S.C. § 841(b)(1)(B)(i).

       This was a long-term investigation conducted by the Bureau of Alcohol, Tobacco,

Firearms, and Explosives (ATF) and the Springfield, Missouri, Police Department (SPD). From

the beginning, it was clear that Robinson was a major player in what was, at the time, a smaller

market for heroin in Springfield. Robinson confirmed this when ATF and SPD made contact with

her while looking for Demarko Hinkle after he was indicted in this case. Robinson said that before

she went to prison she was one of three or four main heroin dealers in the Springfield area.




       1
         Provisional Drug Overdose Death Counts, the National Center for Health Statistics, the
Centers for Disease Control and Prevention, available on from the CDC Website at
https://www.cdc.gov/nchs/nvss/vsrr/drug-overdose-data.htm (accessed on April 26, 2018).
       2
        Missouri state statistics are taken from the Missouri Department of Health and Senior
Services Website, http://health.mo.gov/data/opioids/death-toll.php (accessed on April 26, 2018).


                                                 3

           Case 6:16-cr-03077-BCW Document 218 Filed 07/27/18 Page 3 of 6
       After Robinson went to prison in February of 2015, Hinkle continued the heroin business

in an ever-growing market of addicts and worked with Victor Walton, Laura Brown, and Peter

Kuhn. Walton helped Hinkle sell firearms and heroin to an undercover police officer and to

transport and sell heroin. Brown and Kuhn also sold heroin with and for Hinkle.

       2.       History and Characteristics of this Defendant

       Robinson’s criminal history started when she was 20. (PSR 6, ¶ 30.) Robinson is now 33.

In that time, Robinson has committed five felony offenses, which include both drug offenses and

stealings. (PSR 7, ¶¶ 35, 39, 40, and 41.) The defendant has five children and does not have her

GED. If she got into selling drugs to earn money, that may have worked in the short term, but she

has now left her children to be raised by her mother while she spends time in prison. Robinson

has been through horrible experiences as a child and has lost family members and loved ones in

tragic ways. However, Robinson has always had the choice to have a better life for herself and

her children.

       3.       Need to Promote Respect for the Law, Need to Afford Adequate Deterrence to
                Criminal Conduct, and Need to Protect the Public from Further Crimes of the
                Defendant

       This defendant showed a deep disrespect for the law in her distribution of heroin. A

Guidelines sentence promotes respect for the law and acknowledges the harm caused by this crime

and the reason for the laws that punish this conduct. Robinson’s criminal history is consistent and

serious. She has shown in her 13-year criminal history that incarceration is one of the few ways

to stop her commission of criminal offenses.

       A Guidelines sentence will also protect the public from Robinson. The distribution of

controlled substances can be lucrative, and due to Robinson and the other pioneers in heroin in

Springfield, the number of addicts is plentiful. However, one of the actions that will protect those



                                                 4

         Case 6:16-cr-03077-BCW Document 218 Filed 07/27/18 Page 4 of 6
addicts and others, is to stem the flow of heroin. Fortunately, this group has been incarcerated for

some time, but the harm they laid the foundation for has continued and multiplied. Incarceration

will stop Robinson from dealing more drugs in the short term, but a high Guidelines sentence for

Robinson will also send a message about the danger, the seriousness, and lethality of the

distribution of heroin.

        4.     Need to Provide the Defendant with Education, Vocational Training, or Other
               Correctional Treatment

        Robinson needs a GED and drug treatment.            The Government would support her

participation in a program that would allow her to complete her GED and her participation on

RDAP.

                                      IV. CONCLUSION

        Section 18 U.S.C. § 3553 requires this Court to impose a sentence that considers the factors

above, including the advisory Guidelines range. The Government respectfully requests that the

defendant’s behavior and history, the need to promote respect for the law, the need to protect the

public from the defendant, and any other statutory sentencing factors be considered in reaching an

appropriate sentence.




                                                 5

         Case 6:16-cr-03077-BCW Document 218 Filed 07/27/18 Page 5 of 6
       The Government respectfully requests that this Court impose a sentence of 96 months’

imprisonment.


                                                      Respectfully submitted,

                                                      TIMOTHY A. GARRISON
                                                      United States Attorney

                                                      /s/ Josephine Larison Stockard
                                                      JOSEPHINE LARISON STOCKARD,
                                                      Mo. Bar #63956
                                                      Special Assistant United States Attorney
                                                      Western District of Missouri
                                                      901 St. Louis Street, Suite 500
                                                      Springfield, Missouri 65806
                                                      (417)831-4406


                                 CERTIFICATE OF SERVICE

        I hereby certify that on this the 27th day of July, 2018, I electronically filed the foregoing
document with the Clerk of the Court using the CM/ECF system which sent e-mail notification of
such filing to all CM/ECF participants in this case.

                                                      /s/ Josephine Larison Stockard
                                                      JOSEPHINE LARISON STOCKARD




                                                  6

         Case 6:16-cr-03077-BCW Document 218 Filed 07/27/18 Page 6 of 6
